                  OSHA INSTRUCTION
U.S. DEPARTMENT OF LABOR             Occupational Safety and Health Administration

DIRECTIVE NUMBER: CPL 03-00-022                  EFFECTIVE DATE: 12/10/2019
SUBJECT:        National Emphasis Program on Amputations in Manufacturing Industries

                                         ABSTRACT

Purpose:              This Instruction describes policies and procedures for the continued
                      implementation of a National Emphasis Program (NEP) to identify and
                      reduce or eliminate amputation hazards in manufacturing industries.

Scope:                Occupational Safety and Health Administration-wide (OSHA-wide).

References:           CPL 02-00-025, Scheduling System for Programmed Inspections,
                      January 4, 1995.
                      Revised Interim Enforcement Procedures for Reporting Requirements
                      under 29 CFR §1904.39, March 4, 2016.
                      CPL 02-00-163, Field Operations Manual (FOM), September 13, 2019.
                      CPL 04-00-002, Procedures for the Approval of Local Emphasis Programs
                      (LEPs), November 13, 2018.

Cancellations:        This Instruction supersedes OSHA Instruction CPL 03-00-019, National
                      Emphasis Program on Amputations, August 13, 2015.

State Impact:         Notice of Intent and Adoption required. See paragraph VII.

Action Offices:       National, Regional, Area and State Plan Offices.

Originating Office: Directorate of Enforcement Programs.

Contact:              Office of General Industry and Agricultural Enforcement
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                                        EXHIBIT C
By and Under the Authority of



Loren Sweatt
Principal Deputy Assistant Secretary




                                       ABSTRACT - 2
                                     Executive Summary

This Instruction provides updated guidance to the OSHA National, Regional, and Area Offices
for continued implementation of its NEP to identify and reduce or eliminate amputation hazards
in manufacturing industries. OSHA’s enforcement history shows that employees are often
injured when machinery or equipment is not properly guarded or maintained. This NEP targets
industrial and manufacturing workplaces having machinery and equipment that can potentially
cause amputations.

                                     Significant Changes

This updated Instruction has the following changes:
 • Revises the coding requirements for all OSHA amputation inspections in the OSHA
    Information Systems (OIS);
 • Revises the targeting methodology to include data from the amputation reporting
    requirement under 29 CFR § 1904.39;
 • Removes Appendix A – Machinery and Equipment from the previous NEP on amputations;
 • Removes Appendix B – Related American National Standards Institute (ANSI)/American
    Society of Mechanical Engineers (ASME) Standards from the previous NEP;
 • Adds a new Appendix A – Amputations Targeting Methodology; and
 • Adds a new Appendix B – Covered North American Industry Classification System
    (NAICS) Codes.




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I.     Purpose.
       This Instruction describes policies and procedures for the continued implementation of
       OSHA’s NEP to identify and reduce or eliminate workplace hazards associated with
       amputations in the manufacturing industries.
II.    Scope.
       This Instruction applies OSHA-wide.
III.   References.
       A.       Final Rule at 79 FR 56129-56188, Occupational Injury and Illness Recording and
                Reporting Requirements – NAICS Update and Reporting Revisions.
       B.       29 CFR Part 1904, Recording and Reporting Occupational Injuries and Illnesses.
       C.       29 CFR Part 1910, Subpart J, General Environmental Controls, § 1910.147, The
                Control of Hazardous Energy (Lockout/Tagout).
       D.       29 CFR Part 1910, Subpart O, Machinery and Machine Guarding.
       E.       29 CFR Part 1910, Subpart P, Hand and Portable Powered Tools & Other Hand-Held
                Equipment.
       F.       CPL 02-00-163, FOM, September 13, 2019.
       G.       CPL 02-00-025, Scheduling System for Programmed Inspections, January 4, 1995.
       H.       CPL 02-00-051, Enforcement Exemptions and Limitations under the Appropriations
                Act, May 28, 1998, or successor guidance.
       I.       CPL 02-00-147, The Control of Hazardous Energy – Enforcement Policy and
                Inspection Procedures, February 11, 2008.
       J.       CPL 02-01-025, Guidelines for Point of Operation Guarding of Power Press Brakes,
                February 14, 1997.
       K.       CPL 02-01-043, Slide-locks – Enforcement Policy, Inspection Procedures and
                Performance Guidance Criteria, September 14, 2007.
       L.       CPL 04-00-002, Procedures for the Approval of LEPs, November 13, 2018.
       M.       Revised Interim Enforcement Procedures for Reporting Requirements under 29 CFR §
                1904.39, March 4, 2016.
IV.    Cancellations.
       This Instruction supersedes CPL 03-00-019, NEP on Amputations, August 13, 2015.
V.     Expiration Date.
       This Instruction will terminate five years from the effective date.
VI.    Action Offices.
       A.       Responsible Office. Directorate of Enforcement Programs (DEP).

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       B.     Action Offices. OSHA Regional Administrators, Area Directors, and National Office
              Directors must ensure that the policies and procedures set forth in this Instruction are
              followed. Regional Administrators also must ensure that the Consultation Program
              Managers in their regions are informed of the requirements of this Instruction and
              encourage the involvement of On-Site Consultation Programs in compliance assistance
              activities for workplace hazards associated with amputations in manufacturing
              industries.
VII.   State Plan Impact – Notice of Intent and Adoption Required.
       This Instruction describes a federal program, updating OSHA’s NEP covering amputations in
       manufacturing industries. The enforcement policies and procedures for amputation inspections
       conducted by states with OSHA-approved State Plans must be at least as effective as those in
       this Instruction.
       OSHA-approved State Plans are required to notify OSHA within 60 days as to whether they
       intend to adopt policies and procedures identical to those in this Instruction or adopt or
       maintain different policies and procedures.
       If a State Plan adopts or maintains policies and procedures that differ from federal policies and
       procedures, the State Plan must identify the differences, and may either post the policy on its
       website and provide the link to OSHA or submit an electronic copy to OSHA with information
       on how the public may obtain a copy. If the State Plan adopts policies and procedures that are
       identical to federal policies and procedures, the State Plan must provide the date of adoption to
       OSHA. State Plan adoption must be accomplished within six months, with posting or
       submission of documentation within 60 days of adoption. OSHA will provide summary
       information on the State Plan responses to this Instruction on its website at
       www.osha.gov/dcsp/osp/index.html.
VIII. Background.
       Operating machinery or equipment can be extremely dangerous when it is not properly guarded
       or maintained. Injuries involving machinery or equipment often result in death or permanent
       disability. OSHA’s enforcement history shows that employees performing servicing and
       maintenance on machinery or equipment are often injured when no machine guarding is
       present. OSHA workplace requirements prescribe measures for the safe operation, servicing,
       and/or maintenance of machinery and equipment.
       When identifying potential targeted industries under this NEP, OSHA analyzed OIS data
       involving calendar years 2015-2018 and Bureau of Labor Statistics (BLS) data for calendar
       years 2014-2017. OIS data were limited to federal jurisdiction only. Appendix A,
       Amputations Targeting Methodology, provides the criteria used in developing the NAICS
       codes for this NEP.
IX.    Inspection Scheduling.
       A.     Scheduling/Site Selection. The Office of Statistical Analysis will provide each Area
              Office (AO) with access to software and a database that includes the establishments
              with the NAICS codes covered under this NEP (Appendix B). Only OSHA and State
              Plan states will have access to this information.

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           Establishment lists will be generated using the Establishment Targeting List-Generation
           System. The list generated will be the master list for this NEP and will include the
           covered NAICS codes for the AO’s area of responsibility.

     B.    List and Cycle Generation. AOs may add, based on local evidence, manufacturing
           establishments (regardless of the NAICS codes) to the master list where amputation
           injuries or fatalities related to machinery and equipment have occurred in the five years
           preceding the effective date of this Instruction. The local evidence may be based on
           OIS incident data, employer-reported amputations, and workers’ compensation data.
           Once added, the master list must be re-randomized prior to use after establishments are
           added.

     C.    Scheduling Inspections.
           The AO must schedule inspections as follows:
           1. If the AO intends to inspect the entire master list, then the inspections may be
              scheduled in any order. If the AO uses this method, it must account (through
              inspections and deletions) for covering the entire list. The AO cannot inspect off a
              new list until the entire previous list is completed.
           2. The AO may inspect the facilities in the random number order provided. If the AO
              uses this method, it does not need to complete the entire list. The AO may create
              cycles by choosing a set number of establishments from the establishment list
              sorted in random number order.
     D.    Deletions. The AO shall delete establishments with 10 or fewer employees from the
           master list. Based on local knowledge, AOs may delete establishments that are not
           likely to have targeted machinery and equipment, or establishments known to be out of
           business, documenting the basis for such determinations.
X.   Inspection Procedures.
     A.    Scope. Inspections initiated under this NEP are programmed, planned inspections and
           will be conducted in accordance with provisions of the FOM, Chapter 3, Inspection
           Procedures.
           When possible, inspections conducted under this NEP will be combined with other
           programmed and unprogrammed inspections. This NEP may be combined with other
           existing initiatives, such as LEPs or Site-Specific Targeting.
           Complaints and referrals addressing operations that allege potential exposures to
           amputation hazards must be inspected under this NEP and handled in accordance with
           the procedures outlined in Chapter 9 of the OSHA FOM CPL 02-00-160. This NEP
           provides information on operations likely to lead to employee exposure to amputation
           hazards. Complaints and referrals alleging potential exposures to amputation hazards
           that could result in injury must be handled by an inspection.
     B.    Opening Conference. The Compliance Safety and Health Officer (CSHO) will verify
           the NAICS codes of the site and the number of employees employed by the employer.

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            The CSHO will also verify with the employer whether any machinery and/or equipment
            that could cause amputations is present in the workplace. In addition, OSHA 300 logs
            and 301 incident reports for the current and previous three calendar years will be
            reviewed during the opening conference in order to identify recorded amputations
            associated with machinery and/or equipment.
            The CSHO shall conduct an inspection unless:
             1. The site NAICS code is not listed in Appendix B of this NEP and the CSHO
                determines that there are no amputation hazards, OR
             2. There are 10 or fewer employees.
             If the CSHO does not conduct an inspection, the CSHO must document the reason(s)
             for not inspecting, exit the establishment, and code in OIS as “No Inspection.”
      C.    Walkaround. If any machinery or equipment associated with amputations is present in
            the workplace, the CSHO should exercise professional judgment in conducting an
            inspection, paying particular attention to employee exposure to nip points, pinch points,
            shear points, cutting actions, and other points of operation. The CSHO should consider
            and evaluate employee exposures during setup, regular operation of the machine,
            clearing jams or upset conditions, making adjustments while the machine is operating,
            cleaning of the machine, oiling or greasing of the machine or machine pans,
            scheduled/unscheduled maintenance, and locking out and/or tagging out.
      D.    Training. Because of the technical nature of some of these inspections and/or
            machinery and equipment, CSHOs who conduct inspections under this NEP must have
            adequate training and/or knowledge of both general and specific machine guarding
            concepts and techniques and hazardous energy control (lockout/tagout) program
            requirements.
XI.   Recording in OIS.
      A.   Programmed Inspections under the Amputations NEP Only. All inspections opened from
           the targeting list under this NEP will be coded as initiating type Programmed Planned,
           and “AMPUTATE” shall be selected as the Primary Emphasis Program. Inspections
           opened under the targeting list that are “No Inspection” will also be coded pursuant to
           this paragraph, with the reason for not conducting the inspection (e.g., number of
           employees less than 10).
      B.   Unprogrammed Inspections Combined with Amputation NEP. All unprogrammed
           inspections that reveal amputation hazards will be coded as “AMPUTATE” under the
           Secondary Emphasis Program.
      C.   Other Emphasis Program Inspections with Amputation NEP. Amputation hazards found
           while conducting inspections under other NEPs, REPs, and LEPs may be coded as
           “AMPUTATE” under the Secondary Emphasis Program.
      NOTE: Any use of the code “AMPUTATE” in OIS to identify amputation hazards not
      covered under this NEP must be coded under the Secondary Emphasis Program.


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XII.   Outreach.
       Each Regional Office (RO) and AO must implement a 90-day outreach program that supports
       the purpose of this NEP. During this period, the manufacturing industries with NAICS codes
       under Appendix B will be offered outreach prior to undergoing inspections under this NEP.
       Outreach also will include Occupational Injury and Illness Recording and Reporting
       Requirements under 29 CFR § 1904.39. Letters and news releases to local and national news
       organizations and trade magazines can assist with disseminating information about this NEP.
       Outreach programs with employers, professional associations, and local unions may include
       meetings, training, education, speeches, or other activities designed to involve labor and
       management in the identification and elimination of hazards associated with amputations and
       machinery. The Office of Communications will provide support to the ROs and AOs, as
       necessary. ROs and AOs have discretion to disseminate outreach materials to stakeholders,
       which may include employees, employers, professional associations, and local unions.




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                                               Appendix A

                           AMPUTATIONS TARGETING METHODOLOGY

                                            Category 1
Selection Process for Industries with High OIS Inspection Numbers:

•   OSHA selected five standards (29 CFR §§ 1910.147, 1910.212, 1910.213, 1910.217, and
    1910.219) that are generally recognized as being related to amputation hazards.
•   OSHA used OIS data covering calendar years 2015-2018 and identified those industries with 40
    or more federal OSHA inspections with one or more violations of the selected standards.
•   The process yielded 90 five-digit NAICS codes.

                                            Category 2
Selection Process for Industries with High BLS Rates:

•   OSHA used the four years of BLS Data (calendar years 2014-2017) on incidence rates for
    nonfatal occupational injuries and illnesses involving days away from work per 10,000 full-
    time workers.
•   OSHA selected NAICS codes with BLS incidence rates of 7.5 or greater for amputations for any
    year.
•   Seven and a half is 2.5 times the average overall rate, for manufacturing, an incidence rate of 3.0
    averaged over the four years of data.
•   The process yielded 21 five-digit NAICS codes.

                                            Category 3
Selection Process for Industries with High BLS Amputation Numbers:

•   OSHA used the four years of BLS Data (calendar years 2014-2017) on the number of
    amputations.
•   OSHA selected NAICS codes with BLS numbers of 50 or more amputations per year for calendar
    years 2014-2017.
•   The process yielded 42 five-digit NAICS codes.

                                            Category 4
Selection Process for Industries with High Employer Reported Amputation Numbers (OIS
Employer Reported Severe Injuries):

•   OSHA selected all employer-reported referrals with at least one amputation reported during
    calendar years 2015 and 2018.
•   OSHA selected NAICS codes with reported amputations of 25 or more per year for calendar
    years 2015-2018.
•   Twenty-five was used instead of 50 as the OIS data are federal plan only and therefore are
    representative of approximately half the BLS data.
•   The process yielded 130 five-digit NAICS codes.


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                                         Data Summation

The NAICS codes that comprise the scope of this NEP meet one or more of the following criteria:

•   High OIS Inspection Numbers with High BLS Amputation Rates and High BLS Amputation
    Numbers (Categories 1, 2, and 3) – eight five-digit NAICS codes.

•   High OIS Inspection Numbers with High BLS Amputation Rates and High OIS Employer
    Reported Amputation Numbers (Categories 1, 2, and 4) – 11 five-digit NAICS codes.

•   High OIS Inspection Numbers with High BLS Amputation Numbers and High OIS Employer
    Reported Amputation Numbers (Categories 1, 3, and 4) – 27 five-digit NAICS codes.

•   High BLS Amputation Rates with High BLS Amputation Numbers and High OIS Employer
    Reported Amputation Numbers (Categories 2, 3, and 4) – nine five-digit NAICS codes.

After eliminating overlap between the criteria results, 27 five-digit NAICS codes remained.

•   Eighty-one percent of the 27 five-digit NAICS codes are in manufacturing industries (31-33).

•   After expanding the 27 five-digit manufacturing NAICS codes to six-digit NAICS codes, Appendix
    B represents the 75 six-digit NAICS codes covered under this Amputation NEP.




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                             Appendix B
                     COVERED NAICS CODES

NAICS
                                 ESTABLISHMENTS
CODES
311511   Fluid Milk Manufacturing
311512   Creamery Butter Manufacturing
311513   Cheese Manufacturing
311514   Dry, Condensed, and Evaporated Dairy Product Manufacturing
311611   Animal (except Poultry) Slaughtering
311612   Meat Processed from Carcasses
311613   Rendering and Meat Byproduct Processing
311615   Poultry Processing
311811   Retail Bakeries
311812   Commercial Bakeries
311813   Frozen Cakes, Pies, and Other Pastries Manufacturing
311991   Perishable Prepared Food Manufacturing
311999   All Other Miscellaneous Food Manufacturing
321113   Sawmills
321114   Wood Preservation
321212   Softwood Veneer and Plywood Manufacturing
321213   Engineered Wood Member (except Truss) Manufacturing
321214   Truss Manufacturing
321219   Reconstituted Wood Product Manufacturing
321911   Wood Window and Door Manufacturing
321912   Cut Stock, Resawing Lumber, and Planing
321918   Other Millwork (including Flooring)
321920   Wood Container and Pallet Manufacturing
322211   Corrugated and Solid Fiber Box Manufacturing
322212   Folding Paperboard Box Manufacturing
322219   Other Paperboard Container Manufacturing
326121   Unlaminated Plastics Profile Shape Manufacturing
326122   Plastics Pipe and Pipe Fitting Manufacturing
326191   Plastics Plumbing Fixture Manufacturing
326199   All Other Plastics Product Manufacturing

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NAICS
                                 ESTABLISHMENTS
CODES
327331   Concrete Brick and Block Manufacturing
327332   Concrete Pipe Manufacturing
331210   Iron and Steel Pipe and Tube Manufacturing from Purchased Steel
331221   Rolled Steel Shape Manufacturing
331222   Steel Wire Drawing
332111   Iron and Steel Forging
332112   Nonferrous Forging
332114   Custom Roll Forming
332117   Powder Metallurgy Part Manufacturing
332119   Metal Crown, Closure, and Other Metal Stamping (except Automotive)
332311   Prefabricated Metal Building and Component Manufacturing
332312   Fabricated Structural Metal Manufacturing
332313   Plate Work Manufacturing
332321   Metal Window and Door Manufacturing
332322   Sheet Metal Work Manufacturing
332323   Ornamental and Architectural Metal Work Manufacturing
332710   Machine Shops
332721   Precision Turned Product Manufacturing
332722   Bolt, Nut, Screw, Rivet, and Washer Manufacturing
332991   Ball and Roller Bearing Manufacturing
332992   Small Arms Ammunition Manufacturing
332993   Ammunition (except Small Arms) Manufacturing
332994   Small Arms, Ordnance, and Ordnance Accessories Manufacturing
332996   Fabricated Pipe and Pipe Fitting Manufacturing
332999   All Other Miscellaneous Fabricated Metal Product Manufacturing
333120   Construction Machinery Manufacturing
333241   Food Product Machinery Manufacturing
333242   Semiconductor Machinery Manufacturing
333243   Sawmill, Woodworking, and Paper Machinery Manufacturing
333244   Printing Machinery and Equipment Manufacturing
333249   Other Industrial Machinery Manufacturing
333511   Industrial Mold Manufacturing
333514   Special Die and Tool, Die Set, Jig, and Fixture Manufacturing
333515   Cutting Tool and Machine Tool Accessory Manufacturing

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NAICS
                                 ESTABLISHMENTS
CODES
333517   Machine Tool Manufacturing
333519   Rolling Mill and Other Metalworking Machinery Manufacturing
336211   Motor Vehicle Body Manufacturing
336212   Truck Trailer Manufacturing
336213   Motor Home Manufacturing
336214   Travel Trailer and Camper Manufacturing
337110   Wood Kitchen Cabinet and Countertop Manufacturing
337211   Wood Office Furniture Manufacturing
337212   Custom Architectural Woodwork and Millwork Manufacturing
337214   Office Furniture (except Wood) Manufacturing
337215   Showcase, Partition, Shelving, and Locker Manufacturing




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